                                                                                           Case 09-42996-MBK                            Doc 1
                                                                                                                                         Filed 12/08/09 Entered 12/08/09 02:50:29 Desc Main
                                                                               B1 (Official Form 1) (1/08)                              Document      Page 1 of 35
                                                                                                                         United States Bankruptcy Court                       Voluntary Petition
                                                                                                                          DISTRICT OF NEW JERSEY
                                                                                Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                 Tracey, Diana Morgan
                                                                                All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
                                                                                (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):
                                                                                 None
                                                                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                               (if more than one, state all):                                                    (if more than one, state all):
                                                                                                                  8919
                                                                                Street Address of Debtor (No. and Street, City, and State)                                     Street Address of Joint Debtor (No. and Street, City, and State
                                                                                 22 Boston Post Road
                                                                                 East Brunswick, NJ                                                   ZIPCODE                                                                                  ZIPCODE
                                                                                                                                                         08816
                                                                                County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:

                                                                                 Middlesex
                                                                                Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                      ZIPCODE                                                                                  ZIPCODE

                                                                                Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                               ZIPCODE
                                                                                                New Jersey, New                                                                                                                                   ???~????
                                                                                              Type of Debtor                                         Nature of Business                                     Chapter of Bankruptcy Code Under Which
                                                                                           (Form of Organization)                         (Check one box)                                                        the Petition is Filed (Check one box)
                                                                                              (Check one box)                                 Health Care Business                                     Chapter 7
                                                                                                                                              Single Asset Real Estate as defined in
                                                                                                                                                                                                                                 Chapter 15 Petition for
                                                                                   Individual (includes Joint Debtors)
                                                                                                                                              11 U.S.C. § 101 (51B)                                    Chapter 9                 Recognition of a Foreign
                                                                                   See Exhibit D on page 2 of this form.
                                                                                                                                              Railroad                                                                           Main Proceeding
                                                                                   Corporation (includes LLC and LLP)                                                                                  Chapter 11
                                                                                   Partnership                                                Stockbroker                                                                        Chapter 15 Petition for
                                                                                                                                                                                                        Chapter 12
                                                                                   Other (If debtor is not one of the above entities,         Commodity Broker                                                                   Recognition of a Foreign
                                                                                                                                                                                                       Chapter 13                Nonmain Proceeding
                                                                                   check this box and state type of entity below.)            Clearing Bank
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                                                                                              Other                                                                     Nature of Debts
                                                                                                                                               rental real estate owner/operator
                                                                                                                                                                                                                         (Check one box)
                                                                                                                                                                                                       Debts are primarily consumer
                                                                                                                                                         Tax-Exempt Entity                             debts, defined in 11 U.S.C.             Debts are primarily
                                                                                                                                                       (Check box, if applicable)                      §101(8) as "incurred by an              business debts
                                                                                                                                                 Debtor is a tax-exempt organization                   individual primarily for a
                                                                                                                                                 under Title 26 of the United States                   personal, family, or household
                                                                                                                                                 Code (the Internal Revenue Code)                      purpose."
                                                                                                           Filing Fee (Check one box)                                                   Check one box:       Chapter 11 Debtors
                                                                                       Full Filing Fee attached                                                                            Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                           Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                       Filing Fee to be paid in installments (Applicable to individuals only) Must attach               Check if:
                                                                                       signed application for the court's consideration certifying that the debtor is unable               Debtor’s aggregate noncontingent liquidated debts (excluding debts
                                                                                       to pay fee except in installments. Rule 1006(b). See Official Form No. 3A.                          owed to insiders or affiliates) are less than $2,190,000
                                                                                                                                                                                        Check all applicable boxes
                                                                                       Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        A plan is being filed with this petition.
                                                                                       attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                           Acceptances of the plan were solicited prepetition from one or
                                                                                                                                                                                           more classes, in accordance with 11 U.S.C. § 1126(b).
                                                                                 Statistical/Administrative Information                                                                                                                        THIS SPACE IS FOR
                                                                                                                                                                                                                                               COURT USE ONLY
                                                                                   Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                   Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                   distribution to unsecured creditors.
                                                                               Estimated Number of Creditors

                                                                                1-49           50-99          100-199           200-999          1000-            5,001-            10,001-        25,001-          50,001-       Over
                                                                                                                                                 5000             10,000            25,000         50,000           100,000       100,000
                                                                               Estimated Assets

                                                                               $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001       $100,000,001     $500,000,001    More than
                                                                               $50,000        $100,000       $500,000          to $1           to $10           to $50         to $100           to $500          to $1 billion   $1 billion
                                                                                                                               million        million          million         million           million
                                                                               Estimated Liabilities

                                                                               $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001       $100,000,001     $500,000,001    More than
                                                                               $50,000        $100,000       $500,000          to $1           to $10           to $50         to $100           to $500          to $1 billion   $1 billion
                                                                                                                               million        million          million         million           million
                                                                                      Case
                                                                               B1 (Official   09-42996-MBK
                                                                                            Form 1) (1/08)                         Doc 1        Filed 12/08/09 Entered 12/08/09 02:50:29                                                Desc Main               Page 2
                                                                               Voluntary Petition                                               Document     Page
                                                                                                                                                              Name 2
                                                                                                                                                                   of of 35
                                                                                                                                                                      Debtor(s):
                                                                               (This page must be completed and filed in every case)                          Diana Morgan Tracey
                                                                                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                               Location                                                                             Case Number:                                           Date Filed:
                                                                               Where Filed:           NONE
                                                                               Location                                                                              Case Number:                                          Date Filed:
                                                                               Where Filed:
                                                                                                      N.A.
                                                                                   Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                Name of Debtor:       NONE                                                           Case Number:                                           Date Filed:


                                                                                District:                                                                            Relationship:                                          Judge:


                                                                                                               Exhibit A                                                                                         Exhibit B
                                                                                                                                                                                                 (To be completed if debtor is an individual
                                                                               (To be completed if debtor is required to file periodic reports (e.g., forms                                      whose debts are primarily consumer debts)
                                                                               10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                               Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting            I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
                                                                                                                                                                       the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
                                                                               relief under chapter 11)                                                                States Code, and have explained the relief available under each such chapter.
                                                                                                                                                                       I further certify that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).




                                                                                        Exhibit A is attached and made a part of this petition.                        X
                                                                                                                                                                             Signature of Attorney for Debtor(s)                             Date


                                                                                                                                                            Exhibit C
                                                                               Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                        Yes, and Exhibit C is attached and made a part of this petition.

                                                                                        No

                                                                                                                                                              Exhibit D
                                                                                (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                                            Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                If this is a joint petition:
                                                                                            Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                           Information Regarding the Debtor - Venue
                                                                                                                                                       (Check any applicable box)
                                                                                                        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                                                                                                        immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                                                                                                        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District,
                                                                                                        or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state
                                                                                                        court] in this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                  Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                         (Check all applicable boxes)
                                                                                                        Landlord has a judgment for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                        (Name of landlord that obtained judgment)


                                                                                                                                                         (Address of landlord)
                                                                                                        Debtor claims that under applicable non bankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                        entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                        Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                                                                                                        period after the filing of the petition.
                                                                                                        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
                                                                                           Case 09-42996-MBK                     Doc 1        Filed 12/08/09 Entered 12/08/09 02:50:29                                               Desc Main
                                                                               B1 (Official Form 1) (1/08)                                    Document     Page 3 of 35                                                                                        Page 3
                                                                               Voluntary Petition                                                                     Name of Debtor(s):
                                                                               (This page must be completed and filed in every case)                                   Diana Morgan Tracey
                                                                                                                                                              Signatures
                                                                                           Signature(s) of Debtor(s) (Individual/Joint)                                                 Signature of a Foreign Representative
                                                                                 I declare under penalty of perjury that the information provided in this petition
                                                                                 is true and correct.
                                                                                 [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                 has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                 chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                 available under each such chapter, and choose to proceed under chapter 7.
                                                                                 [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                  I request relief in accordance with chapter 15 of title 11, United States
                                                                                 I request relief in accordance with the chapter of title 11, United States                       Code. Certified copies of the documents required by § 1515 of title 11 are
                                                                                 Code, specified in this petition.                                                                attached.

                                                                                                                                                                                  Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                  title 11 specified in this petition.  A certified copy of the order granting
                                                                                                                                                                                  recognition of the foreign main proceeding is attached.
                                                                                 X /s/ Diana Morgan Tracey
                                                                                     Signature of Debtor                                                                  X
                                                                                                                                                                              (Signature of Foreign Representative)
                                                                                 X
                                                                                     Signature of Joint Debtor

                                                                                                                                                                              (Printed Name of Foreign Representative)
                                                                                      Telephone Number (If not represented by attorney)

                                                                                      12-07-009
                                                                                      Date                                                                                     (Date)

                                                                                                      Signature of Attorney*
                                                                                X                                                                                                Signature of Non-Attorney Petition Preparer
                                                                                        /s/ Thaddeus R. Maciag
                                                                                     Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                                                                                                                       as defined in 11 U.S.C. § 110, 2) I prepared this document for compensation,
                                                                                     THADDEUS R. MACIAG TM/1669                                                        and have provided the debtor with a copy of this document and the notices
                                                                                     Printed Name of Attorney for Debtor(s)                                            and information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and,
                                                                                                                                                                       3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110
                                                                                     MACIAG LAW, LLC                                                                   setting a maximum fee for services chargeable by bankruptcy petition
                                                                                     Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                     991 Route 22 West, Suite 200                                                      document for filing for a debtor or accepting any fee from the debtor, as
                                                                                     Address                                                                           required in that section. Official Form 19 is attached.

                                                                                     Bridgewater, NJ 08807
                                                                                                                                                                       Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                     908-704-8800
                                                                                    Telephone Number
                                                                                                                                                                       Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                     12-07-009                                                                         state the Social Security number of the officer, principal, responsible person or
                                                                                   Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                certification that the attorney has no knowledge after an inquiry that the
                                                                                information in the schedules is incorrect.                                              Address

                                                                                        Signature of Debtor (Corporation/Partnership)
                                                                                  I declare under penalty of perjury that the information provided in this petition
                                                                                  is true and correct, and that I have been authorized to file this petition on       X
                                                                                  behalf of the debtor.

                                                                                  The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                  United States Code, specified in this petition.
                                                                                                                                                                          Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                          person, or partner whose Social Security number is provided above.
                                                                                X
                                                                                     Signature of Authorized Individual                                                   Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                          assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                          not an individual:
                                                                                     Printed Name of Authorized Individual
                                                                                                                                                                          If more than one person prepared this document, attach additional sheets
                                                                                                                                                                          conforming to the appropriate official form for each person.
                                                                                     Title of Authorized Individual
                                                                                                                                                                          A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                          and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                    Date                                                                                  imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                   Case 09-42996-MBK                        Doc 1   Filed 12/08/09 Entered 12/08/09 02:50:29   Desc Main
                                                                                                                                    Document     Page 4 of 35
                                                                               B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                   UNITED STATES BANKRUPTCY COURT
                                                                                                                                    DISTRICT OF NEW JERSEY




                                                                                     Diana Morgan Tracey
                                                                               In re______________________________________                                             09-
                                                                                                                                                            Case No._____________
                                                                                            Debtor(s)                                                             (if known)


                                                                                          EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                          CREDIT COUNSELING REQUIREMENT

                                                                                       Warning: You must be able to check truthfully one of the five statements regarding
                                                                               credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                               case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                               filing fee you paid, and your creditors will be able to resume collection activities against
                                                                               you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                               required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                               collection activities.

                                                                                      Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                               must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                               any documents as directed.
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                                      1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                               from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                               administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                               performing a related budget analysis, and I have a certificate from the agency describing the
                                                                               services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                               developed through the agency.

                                                                                       2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                               from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                               administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                               performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                               the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                               services provided to you and a copy of any debt repayment plan developed through the agency
                                                                               no later than 14 days after your bankruptcy case is filed.
                                                                                   Case 09-42996-MBK                    Doc 1   Filed 12/08/09 Entered 12/08/09 02:50:29   Desc Main
                                                                               B1 D (Official Form 1, Exh. D) (12/09) – Cont.
                                                                                                                                Document     Page 5 of 35                  Page 2


                                                                                       3. I certify that I requested credit counseling services from an approved agency but
                                                                               was unable to obtain the services during the seven days from the time I made my request, and the
                                                                               following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                               so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                      If your certification is satisfactory to the court, you must still obtain the credit
                                                                               counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                               promptly file a certificate from the agency that provided the counseling, together with a
                                                                               copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                               requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                               can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                               be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                               without first receiving a credit counseling briefing.

                                                                                      4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                               applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                      illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                      decisions with respect to financial responsibilities.);
                                                                                              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                      extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                      briefing in person, by telephone, or through the Internet.);
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                                              Active military duty in a military combat zone.

                                                                                      5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                               counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                      I certify under penalty of perjury that the information provided above is true and
                                                                               correct.



                                                                                                            Signature of Debtor:             /s/ Diana Morgan Tracey
                                                                                                                                            DIANA MORGAN TRACEY

                                                                                                                                         12-07-009
                                                                                                                                Date: _________________
                                                                                 B4 (Official Form4)(12/07)
                                                                                             Case 09-42996-MBK                 Doc 1         Filed 12/08/09 Entered 12/08/09 02:50:29                                Desc Main
                                                                                                                                             Document     Page 6 of 35



                                                                                                                          UNITED STATES BANKRUPTCY COURT
                                                                                                                               DISTRICT OF NEW JERSEY


                                                                                 In re     Diana Morgan Tracey                                        ,
                                                                                                                                                                        Case No.       09-
                                                                                                                                   Debtor

                                                                                                                                                                        Chapter        11



                                                                                                      LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS


                                                                                         Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
                                                                                 accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
                                                                                 persons who come within the definition of "insider" set forth in 11 U.S.C.§ 101, or (2) secured creditors unless the
                                                                                 value of the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest
                                                                                 unsecured claims. If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's
                                                                                 initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                 guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).



                                                                                         (1)                          (2)                                 (3)                            (4)                           (5)
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                                 Name of creditor        Name, telephone number and                 Nature of claim               Indicate if                   Amount of claim
                                                                                 and complete            complete mailing address,                  (trade debt, bank             claim is                      [if secured also
                                                                                 mailing address         including zip code, of employee,           loan, government              contingent, unliquidated,     state value of security]
                                                                                 including zip code      agent, or department of creditor           contract, etc.                disputed or
                                                                                                         familiar with claim who may be contacted                                 subject to setoff




                                                                               Wachovia Bank                                                                                                                      243,186.00
                                                                               PO Box 96074                                                                                                                   Collateral FMV
                                                                               Charllotte, NC                                                                                                                      79,472.00
                                                                               28296-0074

                                                                               Wachovia Bank                                                                                                                      160,783.00
                                                                               PO Box 2248
                                                                               Jacksonville, FL
                                                                               32203

                                                                               Wells Fargo Home                                                                                                                   565,333.00
                                                                               Mortgage                                                                                                                       Collateral FMV
                                                                               MAC X7801-03R                                                                                                                      405,000.00
                                                                               3476 Stateview
                                                                               Blvd
                                                                               Fort Mill, SC 29715
                                                                                             Case 09-42996-MBK              Doc 1         Filed 12/08/09 Entered 12/08/09 02:50:29                      Desc Main
                                                                                                                                          Document     Page 7 of 35


                                                                                         (1)                       (2)                                (3)                   (4)                           (5)
                                                                                 Name of creditor     Name, telephone number and                 Nature of claim     Indicate if                   Amount of claim
                                                                                 and complete         complete mailing address,                  (trade debt, bank   claim is                      [if secured also
                                                                                 mailing address      including zip code, of employee,           loan, government    contingent, unliquidated,     state value of security]
                                                                                 including zip code   agent, or department of creditor           contract, etc.      disputed or
                                                                                                      familiar with claim who may be contacted                       subject to setoff




                                                                               Constance T.                                                                                                          174,900.00
                                                                               Tracey                                                                                                            Collateral FMV
                                                                               P.O. Box 703                                                                                                           20,125.00
                                                                               Milltown, NJ
                                                                               08850

                                                                               TD Bank                                                                                                               180,402.00
                                                                               Loan Operations                                                                                                   Collateral FMV
                                                                               32 Chestnut Street                                                                                                     27,686.00
                                                                               Lewiston, ME
                                                                               04240

                                                                               Wachovia Bank                                                                                                         205,046.00
                                                                               PO Box 2248                                                                                                       Collateral FMV
                                                                               Jacksonville, FL                                                                                                       59,937.00
                                                                               32203

                                                                               TD Bank                                                                                                               259,518.00
                                                                               Loan Operations                                                                                                   Collateral FMV
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                               32 Chestnut Street                                                                                                    124,461.00
                                                                               Lewiston, ME
                                                                               04240

                                                                               Wachovia Bank                                                                                                         229,746.00
                                                                               PO Box 96074                                                                                                      Collateral FMV
                                                                               Charllotte, NC                                                                                                         97,477.00
                                                                               28296-0074

                                                                               Constance T.                                                                                                          221,600.00
                                                                               Tracey                                                                                                            Collateral FMV
                                                                               P.O. Box 703                                                                                                           98,739.00
                                                                               Milltown, NJ
                                                                               08850

                                                                               Wachovia Bank                                                                                                         205,178.00
                                                                               PO Box 96074                                                                                                      Collateral FMV
                                                                               Charllotte, NC                                                                                                         85,700.00
                                                                               28296-0074

                                                                               Wachovia Bank                                                                                                         113,028.00
                                                                               PO Box 2248
                                                                               Jacksonville, FL
                                                                               32203
                                                                                             Case 09-42996-MBK              Doc 1         Filed 12/08/09 Entered 12/08/09 02:50:29                      Desc Main
                                                                                                                                          Document     Page 8 of 35


                                                                                         (1)                       (2)                                (3)                   (4)                           (5)
                                                                                 Name of creditor     Name, telephone number and                 Nature of claim     Indicate if                   Amount of claim
                                                                                 and complete         complete mailing address,                  (trade debt, bank   claim is                      [if secured also
                                                                                 mailing address      including zip code, of employee,           loan, government    contingent, unliquidated,     state value of security]
                                                                                 including zip code   agent, or department of creditor           contract, etc.      disputed or
                                                                                                      familiar with claim who may be contacted                       subject to setoff




                                                                               TD Bank                                                                                                               167,508.00
                                                                               Loan Operations                                                                                                   Collateral FMV
                                                                               32 Chestnut Street                                                                                                     78,665.00
                                                                               Lewiston, ME
                                                                               04240

                                                                               TD Bank                                                                                                               136,104.00
                                                                               Loan Operations                                                                                                   Collateral FMV
                                                                               32 Chestnut Street                                                                                                     47,907.00
                                                                               Lewiston, ME
                                                                               04240

                                                                               Wells Fargo Home                                                                                                      474,284.00
                                                                               Mortgage                                                                                                          Collateral FMV
                                                                               MAC X7801-03R                                                                                                         387,000.00
                                                                               3476 Stateview
                                                                               Blvd
                                                                               Fort Mill, SC 29715
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                               Anthony J                                                                                                               82,000.00
                                                                               Sposaro, Esq
                                                                               444 East Main
                                                                               Street
                                                                               Chester, NJ 07930

                                                                               Constance T.                                                                                                          107,600.00
                                                                               Tracey                                                                                                            Collateral FMV
                                                                               P.O. Box 703                                                                                                           30,303.00
                                                                               Milltown, NJ
                                                                               08850

                                                                               Countrywide                                                                                                           384,572.00
                                                                               c-o Bank of                                                                                                       Collateral FMV
                                                                               America                                                                                                               310,500.00
                                                                               PO Box 5170
                                                                               Simi Valley, CA
                                                                               93062-5170

                                                                               Constance T.                                                                                                           60,000.00
                                                                               Tracey                                                                                                            Collateral FMV
                                                                               P.O. Box 703                                                                                                                 0.00
                                                                               Milltown, NJ
                                                                               08850
                                                                                             Case 09-42996-MBK                 Doc 1         Filed 12/08/09 Entered 12/08/09 02:50:29                                   Desc Main
                                                                                                                                             Document     Page 9 of 35


                                                                                         (1)                          (2)                                     (3)                           (4)                           (5)
                                                                                 Name of creditor        Name, telephone number and                      Nature of claim             Indicate if                   Amount of claim
                                                                                 and complete            complete mailing address,                       (trade debt, bank           claim is                      [if secured also
                                                                                 mailing address         including zip code, of employee,                loan, government            contingent, unliquidated,     state value of security]
                                                                                 including zip code      agent, or department of creditor                contract, etc.              disputed or
                                                                                                         familiar with claim who may be contacted                                    subject to setoff




                                                                               Constance T.                                                                                                                           60,000.00
                                                                               Tracey                                                                                                                            Collateral FMV
                                                                               P.O. Box 703                                                                                                                                 0.00
                                                                               Milltown, NJ
                                                                               08850

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


                                                                                       I declare under penalty of perjury that I have read the answers contained in the foregoing list of twenty largest
                                                                                 unsecured creditors and that it is true and correct to the best of my knowledge, information and belief.


                                                                                 Date        12-07-009                                              Signature                /s/ Diana Morgan Tracey
                                                                                                                                                                             DIANA MORGAN TRACEY
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -
                                                                               Case 09-42996-MBK         Doc 1      Filed 12/08/09 Entered 12/08/09 02:50:29              Desc Main
                                                                                                                   Document      Page 10 of 35



                                                                                 B6 Cover (Form 6 Cover) (12/07)



                                                                                  FORM 6. SCHEDULES

                                                                                  Summary of Schedules
                                                                                  Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                  Schedule A - Real Property
                                                                                  Schedule B - Personal Property
                                                                                  Schedule C - Property Claimed as Exempt
                                                                                  Schedule D - Creditors Holding Secured Claims
                                                                                  Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                  Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                  Schedule G - Executory Contracts and Unexpired Leases
                                                                                  Schedule H - Codebtors
                                                                                  Schedule I - Current Income of Individual Debtor(s)
                                                                                  Schedule J - Current Expenditures of Individual Debtor(s)

                                                                                  Unsworn Declaration under Penalty of Perjury

                                                                                  GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                                  amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                  identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                  the case number should be left blank

                                                                                  Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                  claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                  A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                  which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                  the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                  transactions, each claim should be scheduled separately.

                                                                                  Review the specific instructions for each schedule before completing the schedule.
                                                                                       Case 09-42996-MBK                   Doc 1                            Filed 12/08/09 Entered 12/08/09 02:50:29                                             Desc Main
                                                                                                                                                           Document      Page 11 of 35
                                                                               B6D (Official Form 6D) (12/07)

                                                                                        Diana Morgan Tracey
                                                                               In re _______________________________________________,                                                          Case No.09-
                                                                                                                                                                                                        _________________________________
                                                                                                             Debtor                                                                                                                           (If known)

                                                                                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                               by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                               useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                               such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                          List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                               address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                               §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                               include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                               husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                               "Husband, Wife, Joint, or Community."
                                                                                         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                               labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                               one of these three columns.)
                                                                                         Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                               labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                               Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                               the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                                                                                          AMOUNT
                                                                                                                                         HUSBAND, WIFE, JOINT




                                                                                                                                                                                                              UNLIQUIDATED
                                                                                                                                                                                                 CONTINGENT
                                                                                                                                                                   DATE CLAIM WAS INCURRED,                                                  OF
                                                                                                                              CODEBTOR




                                                                                                                                                                                                                             DISPUTED
                                                                                                                                           ORCOMMUNITY




                                                                                          CREDITOR’S NAME,
                                                                                           MAILING ADDRESS                                                            NATURE OF LIEN, AND                                                  CLAIM           UNSECURED
                                                                                         INCLUDING ZIP CODE,                                                           DESCRIPTION AND                                                    WITHOUT           PORTION,
                                                                                        AND ACCOUNT NUMBER                                                            VALUE OF PROPERTY                                                  DEDUCTING           IF ANY
                                                                                          (See Instructions Above.)                                                     SUBJECT TO LIEN                                                   VALUE OF
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                                                                                                                                                                                        COLLATERAL


                                                                               ACCOUNT NO. x220W                                                                Lien: Second Mortgage
                                                                                                                                                                                                                                                      154,775.00
                                                                                                                                                                Security: 220 Washington Rd,
                                                                               Constance T. Tracey                                                              Sayreville, NJ
                                                                                                                                                                                                                                                   This amount
                                                                               P.O. Box 703                                                                                                                                             174,900.00 based upon
                                                                               Milltown, NJ 08850                                                                                                                                                  existence of
                                                                                                                                                                                                                                                     Superior
                                                                                                                                                                VALUE $          288,000.00                                                           Liens
                                                                               ACCOUNT NO. x47G                                                                 Lien: Second Mortgage                                                                 122,861.00
                                                                               Constance T. Tracey                                                              Security: 47 Guilden Street                                                        This amount
                                                                               P.O. Box 703                                                                                                                                             221,600.00 based upon
                                                                               Milltown, NJ 08850                                                                                                                                                  existence of
                                                                                                                                                                                                                                                     Superior
                                                                                                                                                                VALUE $          279,000.00                                                           Liens

                                                                               ACCOUNT NO. x41R                                                                 Lien: Second Mortgage
                                                                                                                                                                                                                                                           53,849.00
                                                                                                                                                                Security: 41 Robinson St.,
                                                                               Constance T. Tracey                                                              New Brunswick, NJ
                                                                                                                                                                                                                                                   This amount
                                                                               P.O. Box 703                                                                                                                                             100,000.00 based upon
                                                                               Milltown, NJ 08850                                                                                                                                                  existence of
                                                                                                                                                                                                                                                     Superior
                                                                                                                                                                 VALUE $         180,000.00                                                           Liens

                                                                                  6
                                                                                _______ continuation sheets attached                                                                             Subtotal     $496,500.00                             331,485.00
                                                                                                                                                                                                                                                      $
                                                                                                                                                                                         (Total of this page)
                                                                                                                                                                                                     Total    $                                       $
                                                                                                                                                                                      (Use only on last page)
                                                                                                                                                                                                                              (Report also on       (If applicable, report
                                                                                                                                                                                                                              Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                    Summary of Certain
                                                                                                                                                                                                                                                    Liabilities and Related
                                                                                                                                                                                                                                                    Data.)
                                                                                       Case 09-42996-MBK                     Doc 1                                 Filed 12/08/09 Entered 12/08/09 02:50:29                                                   Desc Main
                                                                                                                                                                  Document      Page 12 of 35
                                                                               B6D (Official Form 6D) (12/07) – Cont.



                                                                                        Diana Morgan Tracey
                                                                               In re __________________________________________________,                                                                    09-
                                                                                                                                                                                                Case No. _________________________________
                                                                                                                          Debtor                                                                                                                             (If known)



                                                                                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                           HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                 AMOUNT




                                                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                      CONTINGENT
                                                                                          CREDITOR’S NAME,                      CODEBTOR                              DATE CLAIM WAS INCURRED,                                                      OF




                                                                                                                                                                                                                                  DISPUTED
                                                                                           MAILING ADDRESS                                                               NATURE OF LIEN, AND                                                      CLAIM              UNSECURED
                                                                                         INCLUDING ZIP CODE,                                                              DESCRIPTION AND                                                        WITHOUT              PORTION,
                                                                                        AND ACCOUNT NUMBER                                                               VALUE OF PROPERTY                                                      DEDUCTING              IF ANY
                                                                                          (See Instructions Above.)                                                        SUBJECT TO LIEN                                                       VALUE OF
                                                                                                                                                                                                                                               COLLATERAL

                                                                               ACCOUNT NO. x714E                                                                   Lien: Second Mortgage
                                                                                                                                                                                                                                                                     77,297.00
                                                                                                                                                                   Security: 714 Eden Street,
                                                                               Constance T. Tracey                                                                 Highland Park, NJ
                                                                                                                                                                                                                                                           This amount
                                                                               P.O. Box 703                                                                                                                                                     107,600.00 based upon
                                                                               Milltown, NJ 08850                                                                                                                                                          existence of
                                                                                                                                                                                                                                                             Superior
                                                                                                                                                                  VALUE $              157,500.00                                                             Liens
                                                                               ACCOUNT NO.                                                                         Lien: Second Mortgage
                                                                                                x130M                                                                                                                                                                60,000.00
                                                                                                                                                                   Security: 130 McKnight Ave.,
                                                                               Constance T. Tracey                                                                 Jamesburg, NJ
                                                                                                                                                                                                                                                            This amount
                                                                               P.O. Box 703                                                                                                                                                       60,000.00 based upon
                                                                                                                                                                                                                                                            existence of
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                               Milltown, NJ 08850
                                                                                                                                                                                                                                                              Superior
                                                                                                                                                                  VALUE $              310,500.00                                                              Liens
                                                                               ACCOUNT NO. x93D                                                                    Lien: Second Mortgage
                                                                                                                                                                                                                                                                     90,000.00
                                                                                                                                                                   Security: 93 Douglas Ave,.,
                                                                               Constance T. Tracey                                                                 Franklin Twp., NJ
                                                                                                                                                                                                                                                            This amount
                                                                               P.O. Box 703                                                                                                                                                       90,000.00 based upon
                                                                               Milltown, NJ 08850                                                                                                                                                           existence of
                                                                                                                                                                                                                                                              Superior
                                                                                                                                                                  VALUE $              387,000.00                                                              Liens
                                                                               ACCOUNT NO. x9-546                                                                  Lien: First Mortgage
                                                                                                                                                                   Security: 103 Baldwin St, New
                                                                               Countrywide                                                                         Brunswick, NJ
                                                                               c-o Bank of America                                                                                                                                                96,835.00                  0.00
                                                                               PO Box 5170
                                                                               Simi Valley, CA 93062-5170
                                                                                                                                                                  VALUE $              175,500.00
                                                                               ACCOUNT NO. x9-638                                                                  Lien: First Mortgage
                                                                               Countrywide                                                                         Security: 63 Plum Street
                                                                               c-o Bank of America                                                                                                                                              147,814.00                   0.00
                                                                               PO Box 5170
                                                                               Simi Valley, CA 93062-5170
                                                                                                                                                                  VALUE $              238,500.00
                                                                                          1 of ___continuation
                                                                               Sheet no. ___    6              sheets attached to                                                                   Subtotal (s)    $ 502,249.00 $
                                                                               Schedule of Creditors Holding Secured Claims                                                                 (Total(s) of this page)
                                                                                                                                                                                                          Total(s) $             $
                                                                                                                                                                                           (Use only on last page)
                                                                                                                                                                                                                                             (Report also on       (If applicable, report
                                                                                                                                                                                                                                             Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                   Summary of Certain
                                                                                                                                                                                                                                                                   Liabilities and Related
                                                                                                                                                                                                                                                                   Data.)
                                                                                       Case 09-42996-MBK                     Doc 1                                 Filed 12/08/09 Entered 12/08/09 02:50:29                                                   Desc Main
                                                                                                                                                                  Document      Page 13 of 35
                                                                               B6D (Official Form 6D) (12/07) – Cont.



                                                                                        Diana Morgan Tracey
                                                                               In re __________________________________________________,                                                                    09-
                                                                                                                                                                                                Case No. _________________________________
                                                                                                                          Debtor                                                                                                                             (If known)



                                                                                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                           HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                 AMOUNT




                                                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                      CONTINGENT
                                                                                          CREDITOR’S NAME,                      CODEBTOR                              DATE CLAIM WAS INCURRED,                                                      OF




                                                                                                                                                                                                                                  DISPUTED
                                                                                           MAILING ADDRESS                                                               NATURE OF LIEN, AND                                                      CLAIM              UNSECURED
                                                                                         INCLUDING ZIP CODE,                                                              DESCRIPTION AND                                                        WITHOUT              PORTION,
                                                                                        AND ACCOUNT NUMBER                                                               VALUE OF PROPERTY                                                      DEDUCTING              IF ANY
                                                                                          (See Instructions Above.)                                                        SUBJECT TO LIEN                                                       VALUE OF
                                                                                                                                                                                                                                               COLLATERAL

                                                                               ACCOUNT NO. x3-957                                                                  Lien: First Mortgage
                                                                                                                                                                   Security: 75 Guilden St, New
                                                                               Countrywide                                                                         Brunswick, NJ
                                                                               c-o Bank of America                                                                                                                                              125,800.00                   0.00
                                                                               PO Box 5170
                                                                               Simi Valley, CA 93062-5170
                                                                                                                                                                  VALUE $              211,500.00
                                                                               ACCOUNT NO.                                                                         Lien: First Mortgage
                                                                                                x3-989
                                                                                                                                                                   Security: 79 Hassart St, New
                                                                               Countrywide                                                                         Brunswick, NJ
                                                                               c-o Bank of America                                                                                                                                              115,863.00                   0.00
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                               PO Box 5170
                                                                               Simi Valley, CA 93062-5170
                                                                                                                                                                  VALUE $              175,500.00
                                                                               ACCOUNT NO. x3-901                                                                  Lien: First Mortgage
                                                                                                                                                                   Security: 41 Central Ave, New
                                                                               Countrywide                                                                         Brunswick NJ
                                                                               c-o Bank of America                                                                                                                                              127,539.00                   0.00
                                                                               PO Box 5170
                                                                               Simi Valley, CA 93062-5170
                                                                                                                                                                  VALUE $              252,000.00
                                                                               ACCOUNT NO. x3-294                                                                  Lien: First Mortgage
                                                                                                                                                                                                                                                                     74,072.00
                                                                                                                                                                   Security: 130 McKnight Ave,
                                                                               Countrywide                                                                         Jamesburg, NJ
                                                                               c-o Bank of America                                                                                                                                              384,572.00
                                                                               PO Box 5170
                                                                               Simi Valley, CA 93062-5170
                                                                                                                                                                  VALUE $              310,500.00
                                                                               ACCOUNT NO. x9-654                                                                  Lien: First Mortgage
                                                                                                                                                                   Security: 149 Seaman St, New
                                                                               Countrywide                                                                         Brunswick, NJ
                                                                               c-o Bank of America                                                                                                                                              118,593.00                   0.00
                                                                               PO Box 5170
                                                                               Simi Valley, CA 93062-5170
                                                                                                                                                                  VALUE $              166,500.00
                                                                                          2 of ___continuation
                                                                               Sheet no. ___    6              sheets attached to                                                                   Subtotal (s)    $ 872,367.00 $
                                                                               Schedule of Creditors Holding Secured Claims                                                                 (Total(s) of this page)
                                                                                                                                                                                                          Total(s) $             $
                                                                                                                                                                                           (Use only on last page)
                                                                                                                                                                                                                                             (Report also on       (If applicable, report
                                                                                                                                                                                                                                             Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                   Summary of Certain
                                                                                                                                                                                                                                                                   Liabilities and Related
                                                                                                                                                                                                                                                                   Data.)
                                                                                       Case 09-42996-MBK                     Doc 1                                 Filed 12/08/09 Entered 12/08/09 02:50:29                                                   Desc Main
                                                                                                                                                                  Document      Page 14 of 35
                                                                               B6D (Official Form 6D) (12/07) – Cont.



                                                                                        Diana Morgan Tracey
                                                                               In re __________________________________________________,                                                                    09-
                                                                                                                                                                                                Case No. _________________________________
                                                                                                                          Debtor                                                                                                                             (If known)



                                                                                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                           HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                 AMOUNT




                                                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                      CONTINGENT
                                                                                          CREDITOR’S NAME,                      CODEBTOR                              DATE CLAIM WAS INCURRED,                                                      OF




                                                                                                                                                                                                                                  DISPUTED
                                                                                           MAILING ADDRESS                                                               NATURE OF LIEN, AND                                                      CLAIM              UNSECURED
                                                                                         INCLUDING ZIP CODE,                                                              DESCRIPTION AND                                                        WITHOUT              PORTION,
                                                                                        AND ACCOUNT NUMBER                                                               VALUE OF PROPERTY                                                      DEDUCTING              IF ANY
                                                                                          (See Instructions Above.)                                                        SUBJECT TO LIEN                                                       VALUE OF
                                                                                                                                                                                                                                               COLLATERAL

                                                                               ACCOUNT NO. x4631                                                                   Lien: First Mortgage
                                                                                                                                                                   Security: 146 Easton Ave,
                                                                               Greenpoint                                                                          New Brunswick, NJ
                                                                               c-o Bank of America                                                                                                                                              213,023.00                   0.00
                                                                               PO Box 5170
                                                                               Simi Valley, CA 93062-5170
                                                                                                                                                                  VALUE $              310,500.00
                                                                               ACCOUNT NO.                                                                         Lien: First Mortgage
                                                                                                x1130
                                                                                                                                                                   Security: 714 Eden St,
                                                                               Greenpoint                                                                          Highland Park, NJ
                                                                               c-o Bank of America                                                                                                                                              127,197.00                   0.00
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                               PO Box 5170
                                                                               Simi Valley, CA 93062-5170
                                                                                                                                                                  VALUE $              157,500.00
                                                                               ACCOUNT NO. x2175                                                                   Lien: First Mortgage
                                                                                                                                                                   Security: 84 Lee Avenue, New
                                                                               Greenpoint                                                                          Brunswick, NJ
                                                                               c-o Bank of America                                                                                                                                              105,028.00                   0.00
                                                                               PO Box 5170
                                                                               Simi Valley, CA 93062-5170
                                                                                                                                                                  VALUE $              184,500.00
                                                                               ACCOUNT NO. x409                                                                    Lien: Second Mortgage
                                                                                                                                                                                                                                                                   152,716.00
                                                                                                                                                                   Security: 63 Plum St, New
                                                                               TD Bank                                                                             Brunswick, NJ
                                                                                                                                                                                                                                                           This amount
                                                                               Loan Operations                                                                                                                                                  180,402.00 based upon
                                                                               32 Chestnut Street                                                                                                                                                          existence of
                                                                               Lewiston, ME 04240                                                                                                                                                            Superior
                                                                                                                                                                  VALUE $              175,500.00                                                             Liens
                                                                               ACCOUNT NO. x213                                                                    Lien: Second Mortgage
                                                                                                                                                                                                                                                                     88,843.00
                                                                                                                                                                   Security: 103 Baldwin St, New
                                                                               TD Bank                                                                             Brunswick, NJ
                                                                                                                                                                                                                                                           This amount
                                                                               Loan Operations                                                                                                                                                  167,508.00 based upon
                                                                               32 Chestnut Street                                                                                                                                                          existence of
                                                                               Lewiston, ME 04240                                                                                                                                                            Superior
                                                                                                                                                                  VALUE $              175,500.00                                                             Liens
                                                                                          3 of ___continuation
                                                                               Sheet no. ___    6              sheets attached to                                                                   Subtotal (s)    $ 793,158.00 $
                                                                               Schedule of Creditors Holding Secured Claims                                                                 (Total(s) of this page)
                                                                                                                                                                                                          Total(s) $             $
                                                                                                                                                                                           (Use only on last page)
                                                                                                                                                                                                                                             (Report also on       (If applicable, report
                                                                                                                                                                                                                                             Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                   Summary of Certain
                                                                                                                                                                                                                                                                   Liabilities and Related
                                                                                                                                                                                                                                                                   Data.)
                                                                                       Case 09-42996-MBK                     Doc 1                                 Filed 12/08/09 Entered 12/08/09 02:50:29                                                  Desc Main
                                                                                                                                                                  Document      Page 15 of 35
                                                                               B6D (Official Form 6D) (12/07) – Cont.



                                                                                        Diana Morgan Tracey
                                                                               In re __________________________________________________,                                                                    09-
                                                                                                                                                                                                Case No. _________________________________
                                                                                                                          Debtor                                                                                                                            (If known)



                                                                                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                           HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                AMOUNT




                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                     CONTINGENT
                                                                                          CREDITOR’S NAME,                      CODEBTOR                              DATE CLAIM WAS INCURRED,                                                     OF




                                                                                                                                                                                                                                 DISPUTED
                                                                                           MAILING ADDRESS                                                               NATURE OF LIEN, AND                                                     CLAIM              UNSECURED
                                                                                         INCLUDING ZIP CODE,                                                              DESCRIPTION AND                                                       WITHOUT              PORTION,
                                                                                        AND ACCOUNT NUMBER                                                               VALUE OF PROPERTY                                                     DEDUCTING              IF ANY
                                                                                          (See Instructions Above.)                                                        SUBJECT TO LIEN                                                      VALUE OF
                                                                                                                                                                                                                                              COLLATERAL

                                                                               ACCOUNT NO. x536                                                                    Lien: Second Mortgage
                                                                                                                                                                                                                                                                    88,197.00
                                                                                                                                                                   Security: 149 Seaman St, New
                                                                               TD Bank                                                                             Brunswick, NJ
                                                                                                                                                                                                                                                          This amount
                                                                               Loan Operations                                                                                                                                                 136,104.00 based upon
                                                                               32 Chestnut Street                                                                                                                                                         existence of
                                                                               Lewiston, ME 04240                                                                                                                                                           Superior
                                                                                                                                                                  VALUE $              166,500.00                                                            Liens
                                                                               ACCOUNT NO.                                                                         Lien: Second Mortgage
                                                                                                x631                                                                                                                                                              135,057.00
                                                                                                                                                                   Security: 41 Central Ave, New
                                                                               TD Bank                                                                             Brunswick, NJ
                                                                                                                                                                                                                                                          This amount
                                                                               Loan Operations                                                                                                                                                 259,518.00 based upon
                                                                                                                                                                                                                                                          existence of
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                               32 Chestnut Street
                                                                               Lewiston, ME 04240                                                                                                                                                           Superior
                                                                                                                                                                  VALUE $              252,000.00                                                            Liens
                                                                               ACCOUNT NO. x535                                                                    Lien: Second Mortgage
                                                                                                                                                                                                                                                                  145,109.00
                                                                                                                                                                   Security: 79 Hassart St, New
                                                                               Wachovia Bank                                                                       Brunswick, NJ
                                                                                                                                                                                                                                                          This amount
                                                                               PO Box 2248                                                                                                                                                     205,046.00 based upon
                                                                               Jacksonville, FL 32203                                                                                                                                                     existence of
                                                                                                                                                                                                                                                            Superior
                                                                                                                                                                  VALUE $              175,500.00                                                            Liens
                                                                               ACCOUNT NO. x535                                                                    Lien: Second Mortgage
                                                                                                                                                                                                                                                                  119,478.00
                                                                                                                                                                   Security: 75 Guilden St, New
                                                                               Wachovia Bank                                                                       Brunswick, NJ
                                                                                                                                                                                                                                                          This amount
                                                                               PO Box 96074                                                                                                                                                    205,178.00 based upon
                                                                               Charllotte, NC 28296-0074                                                                                                                                                  existence of
                                                                                                                                                                                                                                                            Superior
                                                                                                                                                                  VALUE $              211,500.00                                                            Liens
                                                                               ACCOUNT NO. x9666                                                                   Lien: Second Mortgage
                                                                                                                                                                                                                                                                  132,269.00
                                                                                                                                                                   Security: 146 Easton Ave,
                                                                               Wachovia Bank                                                                       New Brunswick, NJ
                                                                                                                                                                                                                                                          This amount
                                                                               PO Box 96074                                                                                                                                                    229,746.00 based upon
                                                                               Charllotte, NC 28296-0074                                                                                                                                                  existence of
                                                                                                                                                                                                                                                            Superior
                                                                                                                                                                  VALUE $              310,500.00                                                            Liens
                                                                                          4 of ___continuation
                                                                               Sheet no. ___    6              sheets attached to                                                                   Subtotal (s) 1,035,592.00
                                                                                                                                                                                                                    $         $
                                                                               Schedule of Creditors Holding Secured Claims                                                                 (Total(s) of this page)
                                                                                                                                                                                                          Total(s) $          $
                                                                                                                                                                                           (Use only on last page)
                                                                                                                                                                                                                                            (Report also on       (If applicable, report
                                                                                                                                                                                                                                            Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                  Summary of Certain
                                                                                                                                                                                                                                                                  Liabilities and Related
                                                                                                                                                                                                                                                                  Data.)
                                                                                       Case 09-42996-MBK                     Doc 1                                 Filed 12/08/09 Entered 12/08/09 02:50:29                                                     Desc Main
                                                                                                                                                                  Document      Page 16 of 35
                                                                               B6D (Official Form 6D) (12/07) – Cont.



                                                                                        Diana Morgan Tracey
                                                                               In re __________________________________________________,                                                                       09-
                                                                                                                                                                                                   Case No. _________________________________
                                                                                                                          Debtor                                                                                                                               (If known)



                                                                                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                                           (Continuation Sheet)




                                                                                                                                           HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                   AMOUNT




                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                        CONTINGENT
                                                                                          CREDITOR’S NAME,                      CODEBTOR                              DATE CLAIM WAS INCURRED,                                                        OF




                                                                                                                                                                                                                                    DISPUTED
                                                                                           MAILING ADDRESS                                                               NATURE OF LIEN, AND                                                        CLAIM              UNSECURED
                                                                                         INCLUDING ZIP CODE,                                                              DESCRIPTION AND                                                          WITHOUT              PORTION,
                                                                                        AND ACCOUNT NUMBER                                                               VALUE OF PROPERTY                                                        DEDUCTING              IF ANY
                                                                                          (See Instructions Above.)                                                        SUBJECT TO LIEN                                                         VALUE OF
                                                                                                                                                                                                                                                 COLLATERAL

                                                                               ACCOUNT NO. x910                                                                    Lien: Second Mortgage
                                                                                                                                                                                                                                                                     163,714.00
                                                                                                                                                                   Security: 84 Lee Ave, New
                                                                               Wachovia Bank                                                                       Brunswick, NJ
                                                                                                                                                                                                                                                             This amount
                                                                               PO Box 96074                                                                                                                                                       243,186.00 based upon
                                                                               Charllotte, NC 28296-0074                                                                                                                                                     existence of
                                                                                                                                                                                                                                                               Superior
                                                                                                                                                                  VALUE $                184,500.00                                                             Liens
                                                                               ACCOUNT NO.                                                                         Lien: First Mortgage
                                                                                                x6-587                                                                                                                                                               160,333.00
                                                                                                                                                                   Security: Debtor's Residence -- 22
                                                                               Wells Fargo Home Mortgage                                                           Boston Post Rd, E. Brrunswick, NJ
                                                                               MAC X7801-03R                                                                                                                                                      565,333.00
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                               3476 Stateview Blvd
                                                                               Fort Mill, SC 29715
                                                                                                                                                                  VALUE $                405,000.00
                                                                               ACCOUNT NO. x4-375                                                                  Lien: First Mortgage
                                                                                                                                                                                                                                                                     411,261.00
                                                                                                                                                                   Security: 4 Country Brook
                                                                               Wells Fargo Home Mortgage                                                           Ln., Monroe Twp, NJ
                                                                               MAC X7801-03R                                                                                                                                                      456,261.00
                                                                               3476 Stateview Blvd
                                                                               Fort Mill, SC 29715
                                                                                                                                                                  VALUE $                 45,000.00
                                                                               ACCOUNT NO. x8-325                                                                  Lien: First Mortgage
                                                                                                                                                                   Security: 220 Washington Rd,
                                                                               Wells Fargo Home Mortgage                                                           Sayrville
                                                                               MAC X7801-03R                                                                                                                                                      267,875.00                   0.00
                                                                               3476 Stateview Blvd
                                                                               Fort Mill, SC 29715
                                                                                                                                                                  VALUE $                288,000.00
                                                                               ACCOUNT NO. x2-756                                                                  Lien: First Mortgage
                                                                                                                                                                   Security: 41 Robinson St,
                                                                               Wells Fargo Home Mortgage                                                           New Brunswick
                                                                               MAC X7801-03R                                                                                                                                                      133,849.00                   0.00
                                                                               3476 Stateview Blvd
                                                                               Fort Mill, SC 29715
                                                                                                                                                                  VALUE $                180,000.00
                                                                                          5 of ___continuation
                                                                               Sheet no. ___    6              sheets attached to                                                                     Subtotal (s) 1,666,504.00
                                                                                                                                                                                                                      $         $
                                                                               Schedule of Creditors Holding Secured Claims                                                                   (Total(s) of this page)
                                                                                                                                                                                                            Total(s) $          $
                                                                                                                                                                                             (Use only on last page)
                                                                                                                                                                                                                                               (Report also on       (If applicable, report
                                                                                                                                                                                                                                               Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                     Summary of Certain
                                                                                                                                                                                                                                                                     Liabilities and Related
                                                                                                                                                                                                                                                                     Data.)
                                                                                       Case 09-42996-MBK                     Doc 1                                 Filed 12/08/09 Entered 12/08/09 02:50:29                                                   Desc Main
                                                                                                                                                                  Document      Page 17 of 35
                                                                               B6D (Official Form 6D) (12/07) – Cont.



                                                                                        Diana Morgan Tracey
                                                                               In re __________________________________________________,                                                                    09-
                                                                                                                                                                                                Case No. _________________________________
                                                                                                                          Debtor                                                                                                                             (If known)



                                                                                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                           HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                 AMOUNT




                                                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                      CONTINGENT
                                                                                          CREDITOR’S NAME,                      CODEBTOR                              DATE CLAIM WAS INCURRED,                                                      OF




                                                                                                                                                                                                                                  DISPUTED
                                                                                           MAILING ADDRESS                                                               NATURE OF LIEN, AND                                                      CLAIM              UNSECURED
                                                                                         INCLUDING ZIP CODE,                                                              DESCRIPTION AND                                                        WITHOUT              PORTION,
                                                                                        AND ACCOUNT NUMBER                                                               VALUE OF PROPERTY                                                      DEDUCTING              IF ANY
                                                                                          (See Instructions Above.)                                                        SUBJECT TO LIEN                                                       VALUE OF
                                                                                                                                                                                                                                               COLLATERAL

                                                                               ACCOUNT NO. x3-419                                                                  Lien: First Mortgage
                                                                                                                                                                                                                                                                     87,284.00
                                                                                                                                                                   Security: 93 Douglas St.,
                                                                               Wells Fargo Home Mortgage                                                           Franklin Twp, NJ
                                                                               MAC X7801-03R                                                                                                                                                    474,284.00
                                                                               3476 Stateview Blvd
                                                                               Fort Mill, SC 29715
                                                                                                                                                                  VALUE $              387,000.00
                                                                               ACCOUNT NO.                                                                         Lien: First Mortgage
                                                                                                x2-573
                                                                                                                                                                   Security: 47 Guilden St., New
                                                                               Wells Fargo Home Mortgage                                                           Brunswick, NJ
                                                                               MAC X7801-03R                                                                                                                                                    180,261.00                   0.00
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                               3476 Stateview Blvd
                                                                               Fort Mill, SC 29715
                                                                                                                                                                  VALUE $              279,000.00
                                                                               ACCOUNT NO.




                                                                                                                                                                  VALUE $
                                                                               ACCOUNT NO.




                                                                                                                                                                  VALUE $
                                                                               ACCOUNT NO.




                                                                                                                                                                  VALUE $
                                                                                          6 of ___continuation
                                                                               Sheet no. ___    6              sheets attached to                                                                   Subtotal (s)    $ 654,545.00 $ 87,284.00
                                                                               Schedule of Creditors Holding Secured Claims                                                                 (Total(s) of this page)
                                                                                                                                                                                                          Total(s) $             $
                                                                                                                                                                                           (Use only on last page) 6,020,915.002,317,115.00
                                                                                                                                                                                                                                             (Report also on       (If applicable, report
                                                                                                                                                                                                                                             Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                   Summary of Certain
                                                                                                                                                                                                                                                                   Liabilities and Related
                                                                                                                                                                                                                                                                   Data.)
                                                                                       Case 09-42996-MBK                    Doc 1       Filed 12/08/09 Entered 12/08/09 02:50:29                                 Desc Main
                                                                                                                                       Document      Page 18 of 35
                                                                               B6E (Official Form 6E) (12/07)
                                                                                         Diana Morgan Tracey
                                                                                  In re________________________________________________________________,                                         09-
                                                                                                                                                                                 Case No.______________________________
                                                                                                          Debtor                                                                               (if known)

                                                                                       SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                 unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                 address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                 property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                 the type of priority.

                                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                 the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                 "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                 entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                 both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                 Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                 in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                 more than one of these three columns.)

                                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                 Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                 amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                 primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                          Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                 amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                 with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                 Data.
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                                     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                      Domestic Support Obligations

                                                                                      Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                               or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                               11 U.S.C. § 507(a)(1).


                                                                                      Extensions of credit in an involuntary case

                                                                                     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                               appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                      Wages, salaries, and commissions

                                                                                        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                      Contributions to employee benefit plans

                                                                                           Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                   cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                                        Case 09-42996-MBK                   Doc 1      Filed 12/08/09 Entered 12/08/09 02:50:29                               Desc Main
                                                                                                                                      Document      Page 19 of 35
                                                                               B6E (Official Form 6E) (12/07) - Cont.


                                                                                            Diana Morgan Tracey
                                                                                     In re________________________________________________________________,
                                                                                                                                                                                           09-
                                                                                                                                                                                 Case No.______________________________
                                                                                                             Debtor                                                                            (if known)




                                                                                      Certain farmers and fishermen
                                                                                    Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                      Deposits by individuals
                                                                                    Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                      Taxes and Certain Other Debts Owed to Governmental Units

                                                                                    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                      Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                   Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                U.S.C. § 507 (a)(9).
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                               alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                                                 * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                 adjustment.




                                                                                                                                          0
                                                                                                                                         ____ continuation sheets attached
                                                                                         Case 09-42996-MBK                       Doc 1                                 Filed 12/08/09 Entered 12/08/09 02:50:29                                            Desc Main
                                                                                                                                                                      Document      Page 20 of 35
                                                                               B6F (Official Form 6F) (12/07)

                                                                                        Diana Morgan Tracey
                                                                                In re __________________________________________,                                                                            09-
                                                                                                                                                                                                 Case No. _________________________________
                                                                                                               Debtor                                                                                                                       (If known)

                                                                                     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                          If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                          Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                Related Data.
                                                                                         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                               HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                CONTINGENT
                                                                                                                                    CODEBTOR




                                                                                                                                                                          DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                            DISPUTED
                                                                                           CREDITOR’S NAME,                                                                                                                                                 AMOUNT
                                                                                            MAILING ADDRESS                                                                 CONSIDERATION FOR CLAIM.
                                                                                                                                                                          IF CLAIM IS SUBJECT TO SETOFF,                                                      OF
                                                                                          INCLUDING ZIP CODE,                                                                                                                                                CLAIM
                                                                                         AND ACCOUNT NUMBER                                                                          SO STATE.
                                                                                           (See instructions above.)

                                                                               ACCOUNT NO.

                                                                               Anthony J Sposaro, Esq
                                                                               444 East Main Street                                                                                                                                                            82,000.00
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                               Chester, NJ 07930


                                                                               ACCOUNT NO.         x804
                                                                               Chase Bank
                                                                               PO Box 15153                                                                                                                                                                     6,865.00
                                                                               Wilmington, DE 19886-5153


                                                                               ACCOUNT NO.         x221
                                                                               Discover Card
                                                                               PO Box 30943                                                                                                                                                                    11,784.00
                                                                               Salt Lake City, UT 84130



                                                                               ACCOUNT NO.                                                                             Discover
                                                                               Eichenbaum & Stylianou                                                                  DC-010218-08
                                                                               10 Forest Ave., Suite 300                                                                                                                                                   Notice Only
                                                                               paramus, NJ 07653



                                                                                     4
                                                                                   _______ continuation sheets attached                                                                                       Subtotal                                 $      100,649.00
                                                                                                                                                                                                   Total                                               $
                                                                                                                                                    (Use only on last page of the completed Schedule F.)
                                                                                                                                (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                      Summary of Certain Liabilities and Related Data.)
                                                                                       Case 09-42996-MBK                    Doc 1                                 Filed 12/08/09 Entered 12/08/09 02:50:29                                                       Desc Main
                                                                                                                                                                 Document      Page 21 of 35
                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                         Diana Morgan Tracey
                                                                                 In re __________________________________________________,                                                                       09-
                                                                                                                                                                                                      Case No. _________________________________
                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                         CONTINGENT
                                                                                                                               CODEBTOR
                                                                                          CREDITOR’S NAME,
                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                      DISPUTED
                                                                                           MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                        AND ACCOUNT NUMBER
                                                                                          (See instructions above.)


                                                                               ACCOUNT NO.                                                                        Countrywide
                                                                               Fein, Such, Kahn & Shepard
                                                                               7 Century Drive                                                                                                                                                                       Notice Only
                                                                               Parsippany, NJ 07054


                                                                               ACCOUNT NO.      x641
                                                                               Ford Motor Credit
                                                                               PO Box 6508                                                                                                                                                                                5,530.00
                                                                               Mesa, AZ 85216-6508
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                               ACCOUNT NO.

                                                                               Giordano, Halleran & Ciesla
                                                                               125 Half Mile Road                                                                                                                                                                         9,616.00
                                                                               Red Bank, NJ 07701


                                                                               ACCOUNT NO.                                                                        Wachovia
                                                                               Goldman & Warshaw                                                                  MID-L-005450-08
                                                                               34 Maple Avenue                                                                                                                                                                       Notice Only
                                                                               Pine Brook, NJ 07058


                                                                                ACCOUNT NO.

                                                                               Heartwood Consulting
                                                                               1108 Hooper Avenue, Bldg 1                                                                                                                                                                 6,628.00
                                                                               Toms River, NJ 08753


                                                                                          1 of _____continuation
                                                                               Sheet no. _____    4                sheets attached                                                                                     Subtotal                                  $       21,774.00
                                                                               to Schedule of Creditors Holding Unsecured
                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                       Case 09-42996-MBK                    Doc 1                                 Filed 12/08/09 Entered 12/08/09 02:50:29                                                       Desc Main
                                                                                                                                                                 Document      Page 22 of 35
                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                         Diana Morgan Tracey
                                                                                 In re __________________________________________________,                                                                       09-
                                                                                                                                                                                                      Case No. _________________________________
                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                         CONTINGENT
                                                                                                                               CODEBTOR
                                                                                          CREDITOR’S NAME,
                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                      DISPUTED
                                                                                           MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                        AND ACCOUNT NUMBER
                                                                                          (See instructions above.)


                                                                               ACCOUNT NO.      MID-L-0060-06                                                     MID-L-0060-06 (Wachovia)
                                                                               Magnozzi & Kye, LLP
                                                                               1 Expressway Plaza Suite                                                                                                                                                              Notice Only
                                                                               114
                                                                               Roslyn Heights, NY 11577

                                                                               ACCOUNT NO.      MID-L-1590-09                                                     MID-L-1590-09 (Wachovia)
                                                                               Magnozzi & Kye, LLP
                                                                               1 Expressway Plaza Suite                                                                                                                                                              Notice Only
                                                                               114
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                               Roslyn Heights, NY 11577

                                                                               ACCOUNT NO.                                                                        TD Bank
                                                                               McCabe, Weisberg & Conway
                                                                               216 Haddon Ave., Suite 303                                                                                                                                                            Notice Only
                                                                               Westmont, NJ 08108


                                                                               ACCOUNT NO.                                                                        Wachovia Bank
                                                                               McCabe, Weisberg & Conway
                                                                               216 Haddon Ave., Suite 303                                                                                                                                                            Notice Only
                                                                               Westmont, NJ 08108


                                                                                ACCOUNT NO.                                                                       Ford Motor Credit
                                                                               Morgan Bornstein & Morgan                                                          DC-019186-08
                                                                               1236 Brace Road, Suite K                                                                                                                                                              Notice Only
                                                                               Cherry Hill, NJ 08034


                                                                                          2 of _____continuation
                                                                               Sheet no. _____    4                sheets attached                                                                                     Subtotal                                  $            0.00
                                                                               to Schedule of Creditors Holding Unsecured
                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                       Case 09-42996-MBK                    Doc 1                                 Filed 12/08/09 Entered 12/08/09 02:50:29                                                       Desc Main
                                                                                                                                                                 Document      Page 23 of 35
                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                         Diana Morgan Tracey
                                                                                 In re __________________________________________________,                                                                       09-
                                                                                                                                                                                                      Case No. _________________________________
                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                         CONTINGENT
                                                                                                                               CODEBTOR
                                                                                          CREDITOR’S NAME,
                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                      DISPUTED
                                                                                           MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                        AND ACCOUNT NUMBER
                                                                                          (See instructions above.)


                                                                               ACCOUNT NO.                                                                        Chase Bank
                                                                               Mullooly Jeffrey Rooney &                                                          DC-002144-08
                                                                               Flynn                                                                                                                                                                                 Notice Only
                                                                               68451 Jericho Tpke.
                                                                               Syosset, NY 11791

                                                                               ACCOUNT NO.

                                                                               NJ Dept Envir Prot
                                                                               401 East State Street                                                                                                                   X X X                                         Unknown
                                                                               Trenton, NJ 08625
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                               ACCOUNT NO.      4CBL
                                                                               NJ Dept Envir Prot
                                                                               401 East State Street                                                                                                                   X X X                                            255,000.00
                                                                               Trenton, NJ 08625


                                                                               ACCOUNT NO.                                                                        Countrywide
                                                                               Stern, Lavinthal, et al., Esqs.
                                                                               293 Eisenhower Parkway,                                                                                                                                                               Notice Only
                                                                               Suite 300
                                                                               Livingston, NJ 07039

                                                                                ACCOUNT NO.

                                                                               Tarella & Liftman
                                                                               1576 Hwy 130                                                                                                                                                                              22,400.00
                                                                               North Brunswick, NJ 08902


                                                                                          3 of _____continuation
                                                                               Sheet no. _____    4                sheets attached                                                                                     Subtotal                                  $      277,400.00
                                                                               to Schedule of Creditors Holding Unsecured
                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                       Case 09-42996-MBK                    Doc 1                               Filed 12/08/09 Entered 12/08/09 02:50:29                                                       Desc Main
                                                                                                                                                               Document      Page 24 of 35
                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                         Diana Morgan Tracey
                                                                                 In re __________________________________________________,                                                                     09-
                                                                                                                                                                                                    Case No. _________________________________
                                                                                                                  Debtor                                                                                                                           (If known)


                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                       (Continuation Sheet)




                                                                                                                                        HUSBAND, WIFE, JOINT
                                                                                                                                          ORCOMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                                                                       CONTINGENT
                                                                                                                             CODEBTOR
                                                                                          CREDITOR’S NAME,
                                                                                                                                                                         DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                    DISPUTED
                                                                                           MAILING ADDRESS                                                                                                                                                            AMOUNT
                                                                                                                                                                           CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                         IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                        AND ACCOUNT NUMBER
                                                                                          (See instructions above.)


                                                                               ACCOUNT NO.      MID-L-1590-09
                                                                               Wachovia Bank
                                                                               PO Box 2248                                                                                                                                                                            113,028.00
                                                                               Jacksonville, FL 32203


                                                                               ACCOUNT NO.      MID-L-0060-06
                                                                               Wachovia Bank
                                                                               PO Box 2248                                                                                                                                                                            160,783.00
                                                                               Jacksonville, FL 32203
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                               ACCOUNT NO.      x452
                                                                               Wachovia Bank
                                                                               PO Box 2248                                                                                                                                                                             28,612.00
                                                                               Jacksonville, FL 32203


                                                                               ACCOUNT NO.                                                                      Wells Fargo
                                                                               Zucker, Goldberg &
                                                                               Ackerman                                                                                                                                                                            Notice Only
                                                                               200 Sheffield Street, Suite
                                                                               301
                                                                               Mountainside, NJ 07092
                                                                                ACCOUNT NO.                                                                     Greenpoint
                                                                               Zucker, Goldberg &
                                                                               Ackerman                                                                                                                                                                            Notice Only
                                                                               200 Sheffield Street, Suite
                                                                               301
                                                                               Mountainside, NJ 07092
                                                                                          4 of _____continuation
                                                                               Sheet no. _____  4                sheets attached                                                                                     Subtotal                                  $      302,423.00
                                                                               to Schedule of Creditors Holding Unsecured
                                                                               Nonpriority Claims                                                                                                                        Total                                 $      702,246.00
                                                                                                                                                                           (Use only on last page of the completed Schedule F.)
                                                                                                                                                               (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                  Statistical Summary of Certain Liabilities and Related Data.)
                                                                                        Case 09-42996-MBK                     Doc 1    Filed 12/08/09 Entered 12/08/09 02:50:29                            Desc Main
                                                                                                                                      Document      Page 25 of 35
                                                                                     B6 Summary (Official Form 6 - Summary) (12/07)




                                                                                                                          United States Bankruptcy Court
                                                                                                                                    DISTRICT OF NEW JERSEY
                                                                                                 Diana Morgan Tracey
                                                                                    In re                                                                                        Case No.       09-
                                                                                                                                      Debtor
                                                                                                                                                                                 Chapter        11

                                                                                                                                    SUMMARY OF SCHEDULES
                                                                               Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                               I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                               claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                               Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                          AMOUNTS SCHEDULED
                                                                                                                              ATTACHED
                                                                                 NAME OF SCHEDULE                              (YES/NO)        NO. OF SHEETS            ASSETS               LIABILITIES            OTHER
                                                                                 A – Real Property
                                                                                                                              NO                      0            $          0.00

                                                                                 B – Personal Property
                                                                                                                              NO                      0            $          0.00

                                                                                 C – Property Claimed
                                                                                     as exempt                                NO                      0
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                                 D – Creditors Holding
                                                                                    Secured Claims                            YES                     7                                 $
                                                                                                                                                                                        6,020,915.00

                                                                                 E - Creditors Holding Unsecured
                                                                                     Priority Claims                          YES                     2                                  $           0.00
                                                                                    (Total of Claims on Schedule E)
                                                                                 F - Creditors Holding Unsecured
                                                                                     Nonpriority Claims                       YES                     5                                  $   702,246.00

                                                                                 G - Executory Contracts and
                                                                                     Unexpired Leases                         NO                      0

                                                                                 H - Codebtors
                                                                                                                              NO                      0

                                                                                 I - Current Income of
                                                                                     Individual Debtor(s)                     NO                      0                                                        $         0.00

                                                                                 J - Current Expenditures of Individual
                                                                                     Debtors(s)                               NO                      0                                                        $         0.00

                                                                                                                      TOTAL                           14           $          0.00      $
                                                                                                                                                                                        6,723,161.00
                                                                                 Official
                                                                                   CaseForm  6 - Statistical Summary
                                                                                          09-42996-MBK          Doc 1(12/07)
                                                                                                                         Filed             12/08/09 Entered 12/08/09 02:50:29                       Desc Main
                                                                                                                                      Document    Page 26 of 35
                                                                                                                     United States Bankruptcy Court
                                                                                                                                    DISTRICT OF NEW JERSEY

                                                                                            In re       Diana Morgan Tracey                                               Case No.        09-
                                                                                                                                      Debtor
                                                                                                                                                                          Chapter         11
                                                                               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                    If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                               §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                               information here.

                                                                               This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                               Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                                  Type of Liability                                                         Amount

                                                                                  Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                N.A.
                                                                                  Taxes and Certain Other Debts Owed to Governmental Units (from            $
                                                                                  Schedule E)
                                                                                                                                                                N.A.
                                                                                  Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
                                                                                  Schedule E) (whether disputed or undisputed)
                                                                                                                                                                N.A.
                                                                                  Student Loan Obligations (from Schedule F)                                $
                                                                                                                                                                N.A.
                                                                                  Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                  Obligations Not Reported on Schedule E                                        N.A.
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                                  Obligations to Pension or Profit-Sharing, and Other Similar Obligations   $
                                                                                  (from Schedule F)                                                             N.A.
                                                                                                                                                   TOTAL    $   N.A.

                                                                                 State the Following:
                                                                                  Average Income (from Schedule I, Line 16)                                 $   N.A.
                                                                                  Average Expenses (from Schedule J, Line 18)                               $
                                                                                                                                                                N.A.
                                                                                  Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                  22B Line 11; OR, Form 22C Line 20 )                                       $
                                                                                                                                                                N.A.


                                                                                 State the Following:
                                                                                  1. Total from Schedule D, “UNSECURED PORTION, IF
                                                                                  ANY” column
                                                                                                                                                                           $   N.A.

                                                                                  2. Total from Schedule E, “AMOUNT ENTITLED TO                             $
                                                                                  PRIORITY” column.                                                             N.A.

                                                                                  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                        $
                                                                                  PRIORITY, IF ANY” column                                                                     N.A.

                                                                                  4. Total from Schedule F                                                                 $   N.A.
                                                                                  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                             $   N.A.
                                                                                              Case
                                                                                     B6 (Official Form09-42996-MBK
                                                                                                       6 - Declaration) (12/07)Doc                                 1      Filed 12/08/09 Entered 12/08/09 02:50:29                                                                   Desc Main
                                                                                                                                                                         Document      Page 27 of 35
                                                                                               Diana Morgan Tracey
                                                                                     In re                                                                                                                                        Case No.         09-
                                                                                                                            Debtor                                                                                                                                   (If known)

                                                                                                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                         16 sheets, and that they
                                                                                                I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______
                                                                                     are true and correct to the best of my knowledge, information, and belief.



                                                                                      Date       12-07-009                                                                                                 Signature:          /s/ Diana Morgan Tracey
                                                                                                                                                                                                                                                              Debtor:


                                                                                      Date                                                                                                                 Signature:                       Not Applicable
                                                                                                                                                                                                                                                     (Joint Debtor, if any)

                                                                                                                                                                                                                  [If joint case, both spouses must sign.]
                                                                                  -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                              DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                    I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                accepting any fee from the debtor, as required by that section.


                                                                                Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                 If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                 who signs this document.
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                                 Address

                                                                                 X
                                                                                                      Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                               Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                               If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                               A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                               18 U.S.C. § 156.
                                                                               -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                    DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                     I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                               or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                               in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                               shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                               Date                                                                                                                 Signature:


                                                                                                                                                                                                                     [Print or type name of individual signing on behalf of debtor.]
                                                                                                                [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                       Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
Case 09-42996-MBK   Doc 1    Filed 12/08/09 Entered 12/08/09 02:50:29   Desc Main
                            Document      Page 28 of 35


           Anthony J Sposaro, Esq
           444 East Main Street
           Chester, NJ 07930


           Chase Bank
           PO Box 15153
           Wilmington, DE       19886-5153


           Constance T. Tracey
           P.O. Box 703
           Milltown, NJ 08850


           Constance T. Tracey
           P.O. Box 703
           Milltown, NJ 08850


           Constance T. Tracey
           P.O. Box 703
           Milltown, NJ 08850


           Constance T. Tracey
           P.O. Box 703
           Milltown, NJ 08850


           Constance T. Tracey
           P.O. Box 703
           Milltown, NJ 08850


           Constance T. Tracey
           P.O. Box 703
           Milltown, NJ 08850


           Countrywide
           c-o Bank of America
           PO Box 5170
           Simi Valley, CA 93062-5170


           Countrywide
           c-o Bank of America
           PO Box 5170
           Simi Valley, CA 93062-5170
Case 09-42996-MBK   Doc 1    Filed 12/08/09 Entered 12/08/09 02:50:29   Desc Main
                            Document      Page 29 of 35


           Countrywide
           c-o Bank of America
           PO Box 5170
           Simi Valley, CA 93062-5170


           Countrywide
           c-o Bank of America
           PO Box 5170
           Simi Valley, CA 93062-5170


           Countrywide
           c-o Bank of America
           PO Box 5170
           Simi Valley, CA 93062-5170


           Countrywide
           c-o Bank of America
           PO Box 5170
           Simi Valley, CA 93062-5170


           Countrywide
           c-o Bank of America
           PO Box 5170
           Simi Valley, CA 93062-5170



           Discover Card
           PO Box 30943
           Salt Lake City, UT        84130


           Eichenbaum & Stylianou
           10 Forest Ave., Suite 300
           paramus, NJ 07653


           Fein, Such, Kahn & Shepard
           7 Century Drive
           Parsippany, NJ 07054•


           Ford Motor Credit
           PO Box 6508
           Mesa, AZ 85216-6508
Case 09-42996-MBK   Doc 1    Filed 12/08/09 Entered 12/08/09 02:50:29   Desc Main
                            Document      Page 30 of 35


           Giordano, Halleran & Ciesla
           125 Half Mile Road
           Red Bank, NJ 07701


           Goldman & Warshaw
           34 Maple Avenue
           Pine Brook, NJ 07058


           Greenpoint
           c-o Bank of America
           PO Box 5170
           Simi Valley, CA 93062-5170


           Greenpoint
           c-o Bank of America
           PO Box 5170
           Simi Valley, CA 93062-5170


           Greenpoint
           c-o Bank of America
           PO Box 5170
           Simi Valley, CA 93062-5170



           Heartwood Consulting
           1108 Hooper Avenue, Bldg 1
           Toms River, NJ 08753


           Magnozzi & Kye, LLP
           1 Expressway Plaza Suite 114
           Roslyn Heights, NY 11577


           Magnozzi & Kye, LLP
           1 Expressway Plaza Suite 114
           Roslyn Heights, NY 11577




           McCabe, Weisberg & Conway
           216 Haddon Ave., Suite 303
           Westmont, NJ 08108


           McCabe, Weisberg & Conway
           216 Haddon Ave., Suite 303
           Westmont, NJ 08108
Case 09-42996-MBK   Doc 1    Filed 12/08/09 Entered 12/08/09 02:50:29   Desc Main
                            Document      Page 31 of 35


           Morgan Bornstein & Morgan
           1236 Brace Road, Suite K
           Cherry Hill, NJ 08034


           Mullooly Jeffrey Rooney & Flynn
           68451 Jericho Tpke.
           Syosset, NY 11791


           NJ Dept Envir Prot
           401 East State Street
           Trenton, NJ 08625


           NJ Dept Envir Prot
           401 East State Street
           Trenton, NJ 08625



           Stern, Lavinthal, et al., Esqs.
           293 Eisenhower Parkway, Suite 300
           Livingston, NJ 07039


           Tarella & Liftman
           1576 Hwy 130
           North Brunswick, NJ        08902


           TD Bank
           Loan Operations
           32 Chestnut Street
           Lewiston, ME 04240


           TD Bank
           Loan Operations
           32 Chestnut Street
           Lewiston, ME 04240


           TD Bank
           Loan Operations
           32 Chestnut Street
           Lewiston, ME 04240


           TD Bank
           Loan Operations
           32 Chestnut Street
           Lewiston, ME 04240
Case 09-42996-MBK   Doc 1    Filed 12/08/09 Entered 12/08/09 02:50:29   Desc Main
                            Document      Page 32 of 35


           Wachovia Bank
           PO Box 2248
           Jacksonville, FL       32203


           Wachovia Bank
           PO Box 2248
           Jacksonville, FL       32203


           Wachovia Bank
           PO Box 2248
           Jacksonville, FL       32203


           Wachovia Bank
           PO Box 2248
           Jacksonville, FL       32203


           Wachovia Bank
           PO Box 96074
           Charllotte, NC       28296-0074


           Wachovia Bank
           PO Box 96074
           Charllotte, NC       28296-0074


           Wachovia Bank
           PO Box 96074
           Charllotte, NC       28296-0074


           Wells Fargo Home Mortgage
           MAC X7801-03R
           3476 Stateview Blvd
           Fort Mill, SC 29715


           Wells Fargo Home Mortgage
           MAC X7801-03R
           3476 Stateview Blvd
           Fort Mill, SC 29715


           Wells Fargo Home Mortgage
           MAC X7801-03R
           3476 Stateview Blvd
           Fort Mill, SC 29715
Case 09-42996-MBK   Doc 1    Filed 12/08/09 Entered 12/08/09 02:50:29   Desc Main
                            Document      Page 33 of 35


           Wells Fargo Home Mortgage
           MAC X7801-03R
           3476 Stateview Blvd
           Fort Mill, SC 29715


           Wells Fargo Home Mortgage
           MAC X7801-03R
           3476 Stateview Blvd
           Fort Mill, SC 29715


           Wells Fargo Home Mortgage
           MAC X7801-03R
           3476 Stateview Blvd
           Fort Mill, SC 29715


           Zucker, Goldberg & Ackerman
           200 Sheffield Street, Suite 301
           Mountainside, NJ 07092


           Zucker, Goldberg & Ackerman
           200 Sheffield Street, Suite 301
           Mountainside, NJ 07092
                                                                                       Case 09-42996-MBK              Doc 1     Filed 12/08/09 Entered 12/08/09 02:50:29                      Desc Main
                                                                                                                               Document      Page 34 of 35

                                                                               B22B (Official Form 22B) (Chapter 11) (01/08)


                                                                               In re   Diana Morgan Tracey
                                                                                                      Debtor(s)


                                                                               Case Number:    09-
                                                                                                     (If known)

                                                                                                 CHAPTER 11 STATEMENT OF CURRENT MONTHLY INCOME
                                                                               In addition to Schedule I and J, this statement must be completed by every individual Chapter 11 debtor, whether or not filing jointly.
                                                                               Joint debtors may complete one statement only.


                                                                                                     Part I. CALCULATION OF CURRENT MONTHLY INCOME
                                                                                        Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                                        a.     Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
                                                                                        b.     Married, not filing jointly. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
                                                                                  1     c.      Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for
                                                                                                Lines 2-10.
                                                                                        All figures must reflect average monthly income received from all sources, derived during the Column A Column B
                                                                                        the six calendar months prior to filing the bankruptcy case, ending on the last day of the    Debtor’s Spouse’s
                                                                                        month before the filing. If the amount of monthly income varied during the six months, you     Income   Income
                                                                                        divide the six-month total by six, and enter the result on the appropriate line.
                                                                                  2     Gross wages, salary, tips, bonuses, overtime, commissions.                                    $                $
                                                                                                                                                                                          2,927.33
                                                                                        Net income from the operation of a business, profession or farm. Subtract Line b
                                                                                        from Line a and enter the difference on Line 3. If more than one business, profession or
                                                                                        farm, enter aggregate numbers and provide details on an attachment. Do not enter a
                                                                                        number less than zero
                                                                                  3
                                                                                          a.     Gross receipts                                      $
                                                                                                                                                                          0.00
                                                                                          b.     Ordinary and necessary business expenses            $
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -




                                                                                                                                                                          0.00
                                                                                          c.     Business Income                                     Subtract Line b from Line a      $                $
                                                                                                                                                                                              0.00           N.A.
                                                                                        Rents and other real property income. Subtract Line b from Line a and enter the
                                                                                        difference on Line 4. Do not enter a number less than zero.

                                                                                         a.      Gross receipts                                      $                    0.00
                                                                                  4
                                                                                         b.      Ordinary and necessary operating expenses           $
                                                                                                                                                                          0.00
                                                                                         c.      Business Income                                     Subtract Line b from Line a
                                                                                                                                                                                      $       0.00     $     N.A.
                                                                                  5     Interest, dividends and royalties.                                                            $       0.00     $     N.A.
                                                                                  6     Pension and retirement income.                                                                $                $
                                                                                                                                                                                              0.00           N.A.
                                                                                        Any amounts paid by another person or entity, on a regular basis, for the
                                                                                        household expenses of the debtor or the debtor's dependents, including child
                                                                                  7     support paid for that purpose. Do not include alimony or separate maintenance
                                                                                        payments or amounts paid by the the debtor’s spouse if Column B is completed.                 $       0.00     $     N.A.
                                                                                        Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
                                                                                        However, if you contend that unemployment compensation received by you or your spouse
                                                                                        was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                                  8     Column A or B, but instead state the amount in the space below:

                                                                                         Unemployment compensation claimed to
                                                                                         be a benefit under the Social Security Act   Debtor $      0.00   Spouse $       N.A.        $       0.00     $     N.A.
                                                                                    Case 09-42996-MBK              Doc 1     Filed 12/08/09 Entered 12/08/09 02:50:29                          Desc Main
                                                                               B22B (Official Form 22B) (Chapter 11) (01/08)
                                                                                                                            Document      Page 35 of 35
                                                                                                                                                                                                                 2




                                                                                     Income from all other sources. If necessary, list additional sources on a separate page.
                                                                                     Do not include any benefits received under the Social Security Act or payments received as
                                                                                     a victim of a war crime, crime against humanity, or as a victim of international or domestic
                                                                                     terrorism. Specify source and amount.
                                                                                9
                                                                                      a.                                                                             $           0.00
                                                                                      b.                                                                             $           0.00
                                                                                                                                                                                        $
                                                                                                                                                                                                0.00    $
                                                                                                                                                                                                            N.A.
                                                                                     Total and enter on Line 9
                                                                                     Subtotal of current monthly income. Add Lines 2 thru 9 in Column A, and, if Column B                   2,927.33        N.A.
                                                                                                                                                                          $                             $
                                                                               10    is completed, add Lines 2 through 9 in Column B. Enter the total(s).

                                                                                     Total Current Monthly. If Column B has been completed, add Line 10, Column A to Line
                                                                               11    10, Column B, and enter the total. If Column B has not been completed, enter the amount                           2,927.33
                                                                                     from Line 10, Column A.                                                                 $

                                                                                                                          Part VIII: VERIFICATION
                                                                                    I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                    both debtors must sign.)


                                                                                           Date:   12-07-009                       Signature:      /s/ Diana Morgan Tracey
                                                                               12
                                                                                                                                                          (Debtor)


                                                                                           Date:                                   Signature:
                                                                                                                                                        (Joint Debtor, if any)
Bankruptcy2009 ©1991-2009, New Hope Software, Inc., ver. 4.5.1-744 - 30976 -
